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         IN THE UNITED STATES DISTRICT COURT FOR THE
                 MIDDLE DISTRICT OF ALABAMA
                      NORTHERN DIVISION         RECEIVE-D
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LEWIS ALl:.XANDER,                            )
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     PLAINTIFF,                               )                   -   , i_-, :·"': !' �
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                                              )      CIVIL ACTION NO.:
v.                                            )     2:20-cv-0117
                                              )
BRIGGS & STRATTON ,                           )      JURYDEMAND
                                              )
     DEFENDANT.                               )
                                              )
                                              )

                                  COMPLAINT

I.   JURISDICTION

1.   The jurisdiction of this Court is invoked pursuant to 28 U.S.C. Sections 1331;

     1343(4), 2201 and 2202. This suit is authorized and instituted pursuant to Title

     VII ofthe Civil Rights Act of1964, as amended, including the Civil Rights Act

     of1991, 42U.S.C. Section 2000(e), et seq. (hereinafter"Title Vlf'), 42 U.S.C.

     § 1981a and 42 U.S.C.§ 1981. The jurisdiction of this Court is invoked to

     secure the protection of and to redress the deprivation ofrights secured by Title

     VII and42 U.S.C.§ 1981, providing for injunctive and other reliefagainstrace

     discrimination, and retaliation, and the Family Medical Leave Act ("FMLA"),

     29 U.S.C. 2601 et. seq.

2.   Plaintiff has fulfilled all conditions precedent to the institution of this action
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       under Title VII of the Act of Congress known as the "Civil Rights Act of

       1964," as arnended by the "Civil Rights Act of 1991," 42 U.S.C. § 2000e et

       seq. Plaintifftirnely filed his charge of discrimination within 180 days ofthe

       occurrence of the last discriminatory act. Plaintiff timely filed his lawsuit

       within 90 days ofthe receipt of his Right-to-Sue letter from the EEOC.

3.     Venue is proper in the Middle District ofAlabama under 28 U.S.C. §1391(b),

       and the Northern Division pursuant to Title VII's venue provision,42 U.S.C.

       § 2000e-5(f).

II.    PARTIES

4.     Plaintiff, Lewis Alexander(`Plaintiff') is a citizen ofthe United States, and a

       resident ofthe State of Alabama.

5.     Defendant, Briggs & Stratton Corporation (`Defendant'') is an entity subject

       to suit under Title VII and 42 U.S.C. § 1981.

III.   FACTS

6.     Defendant is headquartered in Milwaukee,Wisconsin and is the world's largest

       producer of gasoline engines for outdoor power equipment.

7      Plaintiff is a forty eight year old African American man who began working

       for Defendant twenty-three years ago on July 15, 1996 as an Operator, and he

       was promoted to Set Up C and then eventually to Set Up B.

8.     About eight years ago Plaintiff moved to the quality department where he
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      audited engines, and he performed thatjob until his termination in 2019.

9.    Around the middle of August 2019, Plaintiff took Family Medical Leave for

      a hip injury and returned to work on or around September 26, 2019.

10.   Plaintiff was out of work on FMLA during a new quality system software

      implementation;therefore, when he returned,he requested specific training on

      that system in early October 2019.

11.   Defendant failed to provide Plaintiff sufficient training, and around October

      9th,2019, Plaintiffemailed the Senior HR Business Partner,Kristin Derwinski,

      and the HR Manager, Kyle Hester, regarding the insufficient training he was

      getting from the Analyst who had been assigned to train him, Jim Lowery.

12.   Meanwhile,Plaintiffs direct supervisor Charlotte Hall had been discriminating

      against Plaintiff and other African Americans by denying them training,

      harassing them, disciplining them and giving them more difficult jobs. For

      example,Plaintiffhad to do twojobs and his white co-worker,Lucas,was only

      doing one.

13.   On October 14, 2019, Plaintiff met with supervisor Hall and told her that she

      was treating him differently frorn his white co-worker Lucas because Lucas is

      white and he is black.

14.   Hall listened to Plaintiffs complaint with open contempt,indicting she was not

      going to change her discriminatory treatment of Plaintiff.
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15.   When Hall's discriminatory treatment ofPlaintiff did not stop, on October 17,

      2019 Plaintiff sent an email to HR Manager Hester stating that he and other

      African Americans in the Quality Dept. were being racially discriminated

      against.

16.   The next day on October 18, 2019, Hester emailed Lewis in response to his

      email complaining of discrimination stating "Hey Lewis, I hope you are

      feeling alright today. When you get back Monday, we will sit down and

      discuss this matter in more detail. Have a good weekend, Kyle (Hester)."

17.   On or around October 20th or the 21st, Plaintiff spoke to HR Manager Hester

      and Plant Mgr.(Eric Rodriguez)aboutthe discrimination complaint he hadjust

      made. During that meeting, Plaintiff presented them with a copy of his

      unsigned EEOC charge and told them that ifthings didn't change that he would

      have to file his charge with the EEOC.Plaintiff gave them a list of witnesses

      who would support his discrimination complaint, and Hester and Rodriguez

      told Plaintiff that they were going to investigate and get back with him.

18.   On October 30, 2019, at 12:16 PM,Plaintiff sent a second email to FIR Mgr.

      Hester stating as follows:"Kyle(Hester)I been straightforward with you since

      the day we met. That paper I gave you from the EEOC that wasn't signed when

      I get off work I am going to sign it and fax it back in. I don't know how your

      investigation is coming along but I don't really expect any real change to come
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      about ..."

19.   Less than two hours after Plaintiff sent the above email saying he was going

      to file his EEOC charge, Quality Manager Chris Hewitt took Plaintiff to the

      Plant Manager's conference room where Plant Mgr. Rodriguez and HR Mgr.

      Hester waited.

20.   HR Mgr. Hester stated they had conducted an investigation and they did not

      find anything to support Plaintiffs allegations of race discrimination.

21.   Hewitt then told Plaintiff that on October 1st, 2nd and 14th he had allegedly

      falsified documents because they were not in "infinity",and that they could not

      tolerate this and they had to let him go.

22.   Plaintiff knew he had not falsified anything, and explained that he could get

      a copy of the documents from the plant floor for those dates that proved that

      he had done nothing wrong.However,HR and managementignored Plaintiffs

      attempts to defend himself and told him that he was no longer allowed on the

      floor and escorted Plaintiff out of the plant around 1:50 p.m.

23.   Defendant subsequently created a corrective action forth and stated on it that

      Plaintiff had refused to sign it; however, Defendant never showed that

      document to Plaintiff meaning he never had an opportunity to refuse to sign it.

24.   Defendant replaced Plaintiff with a white woman named Beverly Capps.

25.   Defendanfs articulated reasons for disciplining and terrninating Plaintiff are
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      false and/or a pretext for race discrimination. And,in the alternative, even if

      Defendant had legitimate reasons for the above stated adverse actions it took

      towards Plaintiff, race discrimination remained at a least motivating factor in

      its decisions.

26.   But for Plaintiffs complaints of discrimination, Defendant would not have

      disciplined or terrninated him.

27.   Defendant, by and through its agents, engaged in the practices complained of

      herein with malice and/or with reckless indifference to Plaintiffs federally

      protected rights.

28.   Plaintiff has no plain, adequate or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, liquidated, compensatory and punitive damages is his only

      means of securing adequate relief.

29.   Plaintiff is now suffering, and will continue to suffer irreparable injury from

      Defendants unlawful conduct as set forth herein unless enjoined by this Court.

Iv.   CAUSES OF ACTION

      Count I Race Discrimination

30.   Plaintiff re-alleges and incorporates by reference the above stated factual

      paragraphs with the same force and effect as if fully set out in specific detail

      below.
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31.   Plaintiff brings this Count pursuant to Title VII ofthe Act ofCongress known

      as the Civil Rights Act of 1964,42 U.S.C. Section 2000e et seq. as amended,

      and 42 U.S.C. Section 1981a, and 42 U S.C. Section 1981.

32.   During his employrnent, Defendant discriminated against Plaintiff because of

      his African American race by taking adverse employment actions against him

      up to and including disciplining and terminating his employment.

33.   Defendant's articulated reasons for these adverse employment actions, up to

      and including termination, are not legitimate.

34.   Plaintiff may prevail under a mixed-motive theory, as even if Defendant had

      legitimate reasons for the actions it took towards Plaintiff, race remained at

      least a motivating factor in the adverse employment actions Defendant took

      against him.

35.   Said discrirnination was done maliciously, willfully, and with reckless

      disregard for the rights ofPlaintiff.

36.   Plaintiff has no plain, adequate or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, and compensatory and punitive damages is his only means of

      securing adequate relief.

37.   Plaintiff is now suffering, and will continue to suffer irreparable injury from

      Defendant's unlawful conduct as set forth herein unless enjoined by this Court.
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      Count II Retaliation

38.   Plaintiff re-alleges and incorporates by reference the above stated factual

      paragraphs with the same force and effect as if fully set out in specific detail

      herein below.

39.   Plaintiff brings this Count pursuant to Title VII ofthe Act ofCongress known

      as the Civil Rights Act of 1964,42 U.S.C. Section 2000e et seq. as amended,

      and 42 U.S.C. Section 1981a, and 42 U.S.C. Section 1981.

40.   Plaintiffcomplained ofdiscrimination to management and Human Resources.

41.   In response to Plaintiffs opposition to discrimination, Defendant retaliated

      against Plaintiff by disciplining him and terminating his employment.

42.   There is a causal relationship between Plaintiffs opposition to discrimination

      and the materially adverse employment actions taken against him by

      Defendant.

43.   Said retaliation was done maliciously,willfully,and with reckless disregard for

      the rights of Plaintiff,

44.   Plaintiff has no plain, adequate, or complete remedy at law to redress the

      wrongs alleged herein and this suit for backpay, declaratory judgment,

      injunctive relief, and compensatory and punitive damages is his only means of

      securing adequate relief.

45.   Plaintiff is now suffering, and will continue to suffer, irreparable injury from
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      Defendanfs unlawful conduct as set forth herein unless enjoined by this Court.

      Count III FMLA Retaliation

46.   Plaintiff re-alleges and incorporates by reference the above stated factual

      paragraphs with the sarne force and effect as iffully set out in specific detail

      herein below.

47.   Plaintiff had a serious health condition pursuant to 29 U.S.C. 2612 and 29

      C.F.R. 825.113.

48.   Defendant is an employer in accordance with 29 U.S.C. 2611 and 29 C.F.R.

      825.104.

49.   Plaintiff was an eligible employee under 29 C.F.R. 825.110 entitled to take

      leave for his serious health condition.

50.   Plaintiff requested and took leave for his serious health condition.

51.   Plaintiff engaged in statutorily protected activity by requesting leave for his

      serious health condition and taking leave.

52.   Subsequent to Plaintiff taking leave, Defendant unlawfully retaliated against

      Plaintiff by terrninating Plaintiffs employment. 29 C.F.R. 825.220.

      Defendant's actions were causally connected to Plaintiffs protected activity.

53.   Defendant's actions were willful and unreasonable.

54.   As a result ofDefendant's actions and inactions,Plaintiffhas suffered extrerne

      harrn, including, but not limited to, loss ofemployment opportunities, denial
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      of wages, compensation, and other benefits and conditions of employment.

       Additionally, Plaintiff has suffered injury including pain, humiliation, mental

      anguish and suffering, and loss of enjoyment of life.

V.    DAMAGES

55.   Plaintiff has suffered embarrassment, humiliation, shame, damage to

      reputation, mental distress, emotional and physical pain and anguish, and lost

      wages as a consequence of Defendant's unlawful conduct.

VI.   PRAYER FOR RELIEF

      WHEREFORE,Plaintiffrespectfully prays that this Court assume jurisdiction

ofthis action and after trial:

56.   Issue a declaratory judgment that the employment policies, practices,

      procedures, conditions and customs ofDefendant are violative ofthe rights of

      Plaintiff as secured by Title VII of the Act of Congress known as the "Civil

      Rights Act of 1964," as amended,42 U.S.C. § 2000e et seq. and 42 U.S.C. §

      1981.

57.   Grant Plaintiff a permanent injunction enjoining Defendant, its agents,

      successors, employees, attorneys and those acting in concert with Defendant

      and at Defendant's request from continuing to violate Title VII of the Act of

      Congress known as the "Civil Rights Act of 1964," as amended,42 U.S.C. §

      2000e et seq, and 42 U.S.C. § 1981.
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58.   Enter an Order requiring Defendant to make Plaintiff whole by awarding him

      reinstatement in the position and salary level he would have occupied absent

      discrimination and retaliation, backpay, front pay if reinstatement is not

      possible, lost wages (plus interest), medical expenses, compensatory and

      punitive damages,liquidated damages, postjudgment interest, loss ofbenefits

      including retirement, pension, seniority and other benefits ofemployment.

59.   Plaintiff further prays for such other relief and benefits as the cause ofjustice

      may require,including,but notlimited to,an award ofcosts,attorneys'fees and

      expenses.

                                 JURY DEMAND

                     Plaintiff Demands a Trial by Struck Jury.

                                Respectfully submitted,


                                /s/
                                Jon Go d arb asb-5401-f58j
                                L. William Smith asb-8660-a6 1 s
                                Christina M. Malmat asb-1214-y44q
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